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lN THE UNITED STATES DlSTRlCT C()URT
FOR THE MIDDLE DlSTRlCT ()F ALABAMA
EASTERN DlVlSl()N

GRACE DONALDSON. )
)
Plaintiff, )
)

v. ) Civil Action No. 3217-cv-l97
)
KlRTI PATEL CORP()RAT!ON, )
INC., )
)
Defendant. )
)

 

JOlNT STlPULATlON OF DlSMlSSAL

The parties Stipulate to the dismissal 01" this action with prejudice pursuant to

Rule 41(3)(,1 )(A)(ii) Ol`the P`edei‘al Ruies of`(fivil Procedure, each party 10 gear their
own costs, taxed as paid.

Dated: June ‘LL:VB 2017.

mid/w

Th\omas M. Eden, IH (M~S? 73',,\)[,

  
       

41 ` ___.,,v .* ~~~~~

mn Allen i B-108<)-642P‘)

 

    

Attorney for Defem{ant Am)meyf¢)r 'laintij]`
CONSTANGY, BR()()KES, SMITH FULMER LAW FlRM, P.C.
& PROPHETE, LLP P.(). Bc)x 130373

3120 Fx'ederick Rd Birmingham, AL 352 l 3

Suite D Telephone: (2()5) 402-2100
Opelika, AL 3680\ Email: jai`@jai`ulmerlaw.com

Telephone: (205) 222-8030
Email: teden@constangy.com

 

